                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                   HARRISBURG DIVISION

     In re:                                                 Chapter 11

     ROMAN CATHOLIC DIOCESE OF                              Case No. 1:20-bk-00599 (HWV)
     HARRISBURG,

                             Debtor.1


                            DECLARATION OF TERRENCE J. KERWIN, ESQ.

              I, Terrence J. Kerwin, Esq. do hereby declare pursuant to 28 U.S.C. § 1746:

              1.     I am an adult of sound mind and resident of the Commonwealth of Pennsylvania.

              2.     I am making this declaration under penalty of perjury pursuant to 28 U.S.C. § 1746.

              3.     If called to testify I could and would testify to the following.

              4.     I am an attorney licensed and in good standing in the Commonwealth of

 Pennsylvania.

              5.     I am a partner at the law firm of Kerwin & Kerwin, LLP and have served as the

 solicitor for the Diocese of Harrisburg since 1985.

              6.     Prior to 1985, my father’s law partner, John J. Bream, Esq. served as the solicitor

 for the Diocese of Harrisburg and I assisted him in his work for the Diocese of Harrisburg.

              7.     As a result of my role as solicitor for the Diocese of Harrisburg and having assisted

 John H. Bream in his role as solicitor for the Diocese of Harrisburg I am intimately familiar with,

 among other things, the manner in which property is held across the Diocese of Harrisburg and the

 relationships between various entities within the Diocese of Harrisburg, including the Roman

 Catholic Diocese of Harrisburg.


 1
  The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
 business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.


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          8.        At all times during which I have served as solicitor, in accordance with and pursuant

 to Pennsylvania law and the Code of Canon Law, real property within the Diocese of Harrisburg

 has been held in trust by the current Diocesan Bishop of the Diocese of Harrisburg for the benefit

 of either the Roman Catholic Diocese of Harrisburg, a school within the Diocese of Harrisburg, a

 parish within the Diocese of Harrisburg, or some other ministry within the Diocese of Harrisburg.

          9.        At the request of counsel for the Roman Catholic Diocese of Harrisburg (the

 “Debtor”), I have retrieved deeds relating to the properties within the Roman Catholic Diocese of

 Harrisburg Real Estate Trust. As the Diocese encompasses fifteen counties, I have not attached all

 the deeds, but attached a sample which represents how real estate is titled throughout the Diocese

 of Harrisburg. All these deeds use the word “Trust” or “Trustee”.

          10.       The Diocesan campus located at 4800 Union Deposit Road consist of four tax

 parcels, as reflected in Exhibit A to this declaration.

          11.       Attached as Exhibit B-1 through Exhibit B-4 are true and correct copies the deeds

 comprising these four tax parcels comprising the Diocesan campus at 4800 Union Deposit Road,

 Harrisburg, Pennsylvania.

          12.       Attached as Exhibit C to this declaration is a true and correct copy of the deed for

 Lancaster Catholic High School, Lancaster County, dated June 30, 1947.

          13.       Attached as Exhibit D to this declaration is a true and correct copy of the deed for

 Lebanon Catholic High School, Lebanon County, dated August 16, 1956.

          14.       Attached as Exhibit E to this declaration is a true and correct copy of the deed for

 Our Lady of Lourdes Regional School, Northumberland County, dated May 1, 1957.

          15.       Attached as Exhibit F to this declaration is a true and correct copy of the deed for

 Resurrection Cemetery, Dauphin County, dated January 12, 1960.


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          16.       Attached as Exhibit G to this declaration is a true and correct copy of the deed for

 All Saints Cemetery, Northumberland County, dated August 2, 1962.

          17.       Attached as Exhibit H to this declaration is a true and correct copy of the deed for

 Holy Cross Cemetery, Lebanon County, dated December 15, 1966.

          18.       Attached as Exhibit I to this declaration is a true and correct copy of the deed for

 the Newman House at Millersville University, Lancaster County, dated March 31, 1975.

          19.       Attached as Exhibit J to this declaration is a true and correct copy of the deed for

 the Newman House at Bucknell University, Union County, dated January 17, 1976.

          20.       Attached as Exhibit K to this declaration is a true and correct copy of the deed for

 the Newman House at Bloomsburg University, Columbia County, dated December 16, 1980.

          21.       Attached as Exhibit L to this declaration is a true and correct copy of the deed for

 Gate of Heaven Cemetery, Cumberland County, dated January 3, 1983.

          22.       Attached as Exhibit M to this declaration is a true and correct copy of the deed for

 Bishop McDevitt High School, Dauphin County, dated August 11, 2010.

          23.       In addition, properties pertaining to other properties within the Diocese of

 Harrisburg have been titled in the same manner.

          24.       Attached as Exhibit N to this declaration is a true and correct copy of a deed to

 John W. Shanahan, Trustee of Saint Patrick’s Cathedral Congregation, for a property in the City

 of Harrisburg, dated June 1, 1915.

          25.       Attached as Exhibit O to this declaration is a true and correct copy of a deed to

 The Most Reverend George L. Leech, Bishop of the Diocese of Harrisburg, In Trust for the Roman

 Catholic Congregation of St. Joan of Arc Church, Derry Township (Hershey), with said deed dated

 August 19, 1947.


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          26.       Attached as Exhibit P to this declaration is a true and correct copy of a deed to

 Right Reverend P.R. McDevitt, DD, Bishop of Harrisburg, Pennsylvania, Diocese, in Trust for St.

 Francis Roman Catholic Congregation of Harrisburg, dated March 29, 1921.

          27.       To the best of my knowledge, every deed for a parish in the Diocese of Harrisburg

 refers to the Bishop as Trustee for the parish.

          28.       Under penalty of perjury, I declare the foregoing is true and correct.

          FURTHER AFFIANT SAYETH NOT.



                                                          Terrence J. Kerwin, Esq.
                                                          Kerwin & Kerwin, LLP
                                                          Sup.Ct. ID # 29922
                                                          4245 State Route 209
                                                          Elizabethville, PA 17023




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